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15                                 UNITED STATES DISTRICT COURT
16                                CENTRAL DISTRICT OF CALIFORNIA

17 FRANCESCA GREGORINI,                               Case No. 2:20-cv-00406-SSS-JC

18               Plaintiff,                           JOINT CASE MANAGEMENT
                                                      STATEMENT
19            vs.

20 APPLE   INC., a California corporation;
   M. NIGHT SHYAMALAN, an
21 individual, BLINDING EDGE
   PICTURES, INC., a Pennsylvania
22 corporation; UNCLE GEORGE
   PRODUCTIONS, a Pennsylvania
23 corporate; ESCAPE ARTISTS LLC, a
   California limited liability company;
24 DOLPHIN     BLACK PRODUCTIONS, a
   California corporation; TONY
25 BASGALLOP,      an individual; ASHWIN
   RAJAN, an individual; JASON
26 BLUMENTHAL,        an individual; TODD
   BLACK, an individual; STEVE TISCH,
27 an individual; and DOES 1-10, inclusive,
28                                      Defendants.


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 1            Pursuant to this Court’s June 24, 2022 Order (Dkt. 94) (the “Order”), plaintiff
 2 Francesca Gregorini (“Plaintiff”) and defendants Blinding Edge Pictures, Inc.,
 3 Uncle George Productions, LLC, Apple Inc., Escape Artists, Inc. (erroneously sued
 4 as Escape Artists LLC), Dolphin Black Productions, M. Night Shyamalan, Tony
 5 Basgallop, Ashwin Rajan, Jason Blumenthal, Todd Black, and Steve Tisch
 6 (collectively, “Defendants”) submit the following joint case management statement:
 7            a)        Date of Filing
 8            Plaintiff filed this action on January 15, 2020. Dkt. 1.
 9            b)        The Parties
10            The parties in this action are as follows:1
11             Plaintiff Francesca Gregorini
12             Defendant Blinding Edge Pictures, Inc.
13             Defendant Uncle George Productions, LLC
14             Defendant M. Night Shyamalan
15             Defendant Ashwin Rajan
16             Defendant Apple Inc.
17             Defendant Escape Artists, Inc.
18             Defendant Steve Tisch
19             Defendant Todd Black
20             Defendant Jason Blumenthal
21             Defendant Tony Basgallop
22             Defendant Dolphin Black Productions
23                c)      Summary of Claims Asserted
24            Plaintiff alleges that the first three episodes of Defendants’ television show
25 Servant infringe her 2013 feature film, The Truth about Emanuel. She asserts
26 claims for (1) copyright infringement against all Defendants; (2) copyright
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28            The parties have filed their Certificates of Interested Parties at Dkt. 3
     (Plaintiff) and Dkt. 21 (Defendants).
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 1 infringement regarding an early Servant script, against Defendants Basgallop and
 2 Blumenthal; (3) copyright infringement regarding a later iteration of the Servant
 3 script, against all Defendants except Apple Inc.; and (4) contributory and vicarious
 4 copyright infringement against all Defendants.
 5              d)        Events Underlying the Action
 6            Plaintiff contends that Servant is substantially similar to Emanuel. She
 7 alleges that the works tell a remarkably similar and highly original story, in which a
 8 mother’s three-month old baby has died, leaving her so delusional that she cares for
 9 a doll as if it were her living baby—and in which a nanny buys into the mother’s
10 delusion due to a reciprocal longing for a long-deceased mother.
11            Plaintiff’s First Amended Complaint catalogues a long list of creative choices
12 common to both works, many of which Plaintiff alleges to be highly unusual and
13 idiosyncratic. These range from plot and character elements to technical matters
14 such as framing, camera angles, lighting, story structure, and the like. Plaintiff also
15 emphasized her highly eccentric pairing of elements, such as classic Hollywood
16 suspense coupled with magical realism, or highlighting an interpersonal bond that is
17 at once maternal but has sexual undertones.
18            Plaintiff contends that Defendants had access to Emanuel because it was
19 released as a feature film, and featured at the Sundance Film Festival.
20            Defendants contend that Servant was created independently of, and without
21 reference to, Emanuel. They contend that none of the Defendants saw or heard of
22 Emanuel before this lawsuit, and that Emanuel was not widely disseminated at any
23 point. Defendants allege that Mr. Basgallop began developing what would become
24 Servant in 2006, well before Emanuel was released. Lastly, Defendants contend
25 that Emanuel and Servant (or any scripts for Servant) are not substantially similar as
26 a matter of law. In fact, Plaintiff concedes that the works’ purported shared
27 premise—in Plaintiff’s words, “a mother so traumatized by her baby’s death that
28 she cares for a doll she believes to be her real baby” (Dkt. 25, FAC ¶ 72 n.11) and

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 1 “a privileged mother hiring a nanny to care for the doll she believes to be her
 2 deceased baby” (Dkt. 34, Opposition to Motion to Dismiss at 1)—are unprotectable.
 3 As Defendants have maintained throughout this case and as expert testimony will
 4 support, Plaintiff’s alleged similarities flow from this concededly unprotectable
 5 premise or are otherwise generic or insignificant to rise to the legal requirements of
 6 “substantial similarity.”
 7            The parties agree that the factual issues before this Court likely will be (i)
 8 whether Defendants had access to Emanuel; (ii) any issues of fact that the Court
 9 finds are necessary to assess substantial similarity and/or whether Servant is
10 substantially similar to Emanuel; (iii) whether Defendants independently created
11 Servant; and (v) whether and to what extent Plaintiff is entitled to damages or other
12 relief. The parties may identify other factual issues during discovery.
13            e)        Relief Sought and Damages Claimed
14            Plaintiff’s position: Plaintiff contends that production and distribution of
15 Servant was a highly successful commercial endeavor, and that discovery will likely
16 reveal that each Defendant realized a significant financial gain, which may be
17 recovered by Plaintiff pursuant to 17 U.S.C 504(b), as “ill gotten gains” resulting
18 from the alleged infringement. In addition, Plaintiff seeks recovery of her “actual
19 damages” resulting from her lost opportunities to further exploit Emanuel.
20            Defendants’ position: Defendants deny that Plaintiff is entitled to any
21 damages in this action. Even if liability is established, which Defendants dispute,
22 Plaintiff would not be entitled to recover statutory damages or attorneys’ fees. She
23 could only potentially recover actual damages and profits, which are limited to
24 those profits that are “attributable to the infringement.” 17 U.S.C. § 504(b). There
25 are no direct profits relating to Servant and Plaintiff cannot prove entitlement to any
26 indirect profits because such damages would be speculative. See Mackie v. Rieser,
27 296 F.3d 909, 915-916 (9th Cir. 2002). Any damages will be further limited by the
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 1 fact that Plaintiff contends that only three of Servant’s ten episodes in its first
 2 season are infringing.
 3            f)        Status of Discovery
 4            The parties served their initial disclosures on April 8, 2020. Plaintiff served
 5 requests for production on March 30, 2020, April 10, 2020, and April 20, 2020.
 6 Defendants responded to those requests, but had not yet produced documents in
 7 connection with those requests prior to Judge Walter granting Defendants’ motion
 8 to dismiss. Following remand from the Ninth Circuit, Defendants moved to
 9 bifurcate discovery in this case to allow an initial period for expert discovery on
10 substantial similarity. Plaintiff opposes the motion. The motion is fully briefed,
11 and pursuant to this Court’s reassignment order, has been re-noticed for hearing on
12 September 16, 2022. See Dkt. 81 (motion), 88 (opposition), 89 (reply), 94
13 (reassignment order), 95 (notice of September 16, 2022 hearing).
14            Plaintiff anticipates a dispute regarding Defendants’ discovery responses and
15 plans to initiate the meet and confer process after informal discussions with
16 Defendants’ counsel on the subject. The parties anticipate propounding additional
17 written discovery and taking depositions. The parties also anticipate issuing
18 subpoenas. The parties also anticipate entering into an appropriate stipulated
19 protective order.
20            Pursuant to Judge Walter’s May 16, 2022 amended scheduling and case
21 management order (Dkt. 68), the following discovery cut-off dates are currently in
22 effect:
23             Affirmative expert report deadline: May 15, 2023
24             Rebuttal expert report deadline: June 5, 2023
25             Discovery cut-off: July 10, 2023
26            g)        Procedural History
27            This Court granted Defendants’ motion to dismiss Plaintiff’s First Amended
28 Complaint (the “FAC”) on May 28, 2020. Dkt. 39. The Ninth Circuit reversed the

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 1 decision on February 22, 2022. Dkt. 60. Defendants answered the FAC on May 25,
 2 2022. Dkts. 76-80. That same day, Defendants filed a motion to bifurcate
 3 discovery, which is now fully briefed (see Dkt. 81 (notice of motion and
 4 memorandum of points and authorities), 88 (opposition), 89 (reply)). Defendants’
 5 motion was previously set to be heard on June 27, 2022 before this case was
 6 transferred to the Honorable Judge Sykes. Defendants have filed a notice re-setting
 7 the hearing on their motion to September 16, 2022. Dkt. 95.
 8            h)        Deadlines
 9            The Order notes that “[a]ll discovery cutoff dates and other deadlines . . .
10 such as disclosure and expert deadlines, shall remain in effect.” Additionally, the
11 Order notes that “[a]ll pretrial conferences and trial dates currently set for January
12 1, 2023 or after, as well as other deadlines associated with the case, shall remain in
13 effect.” Accordingly, the following dates currently are in effect, pending the
14 Court’s ruling on Defendants’ motion to bifurcate discovery to allow for an initial
15 period for expert discovery on substantial similarity and motions for summary
16 judgment as to substantial similarity:
17             Last day to conduct settlement conference/mediation: March 27, 2023
18             Last day to file joint report regarding settlement conference/mediation:
19                 March 31, 2023
20             Affirmative expert report deadline: May 15, 2023
21             Rebuttal expert report deadline: June 5, 2023
22             Discovery cut-off: July 10, 2023
23             Last day for hearing motions: August 7, 2023
24             Deadline to submit pre-trial conference order and file motions in limine,
25                 memoranda of contentions of fact and law, pre-trial exhibit stipulation,
26                 summary of witness testimony and time estimates, status report regarding
27                 settlement, agreed upon set of jury instructions and verdict forms, and
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 1                 joint statement regarding disputed instructions, verdicts, or other matters:
 2                 September 21, 2023
 3             Deadline to file proposed voir dire questions and agreed-to statement of
 4                 case: October 3, 2023
 5             Pre-trial conference: October 6, 2023
 6             Hearing on motions in limine and disputed jury instructions: October 13,
 7                 2023 at 8:00 a.m.
 8             Trial (estimated length 3 days): October 24, 2023 at 8:30 a.m.
 9            i)        Vacated Trial Dates
10            No pre-trial conference or trial dates were vacated pursuant to the Order.
11            j)        Magistrate Judge
12            The parties will not consent to a magistrate judge for trial.
13            k)        Case Management Conference
14            The parties do not believe there is an immediate need for a case management
15 conference.
16            l)        Statement of Immediate Relief Sought Regarding Case Schedule
17            Defendants have moved to bifurcate discovery to allow an initial period of
18 expert discovery on substantial similarity and motions for summary judgment on
19 that issue. See Dkt. 81 (notice of motion and memorandum of points and
20 authorities), 88 (opposition), 89 (reply).
21            m)        Any Other Relevant Information
22            The parties have no additional information to provide to the Court at this
23 time.
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 1 DATED: July 8, 2022                   DAVIS WRIGHT TREMAINE LLP
 2                                       By: /s/Nicolas A. Jampol
                                             Nicolas A. Jampol
 3
                                              Attorneys for Defendants
 4
 5 DATED: July 8, 2022                   ERIKSON LAW GROUP
 6                                       By: /s/David Erikson
 7                                            David Erikson

 8                                            Attorneys for Plaintiff

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 1                                      FILER’S ATTESTATION
 2            Pursuant to Central District of California Local Rule 5-4.3.4(a)(2)(i), I hereby
 3 certify that the content of this document is acceptable to David A. Erikson and
 4 Antoinette Waller, counsel for plaintiff Francesca Gregorini, and I have obtained
 5 their authorization to affix David Erikson’s electronic signature to this document.
 6
     DATED: July 8, 2022                        DAVIS WRIGHT TREMAINE LLP
 7
 8                                              By: /s/ Nicolas A. Jampol
                                                   Nicolas A. Jampol
 9
                                                     Attorneys for Defendants
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